Case 1:10-cv-20506-AMS Document 339 Entered on FLSD Docket 03/18/2014 Page 1 of 5



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                             CASE NO. 10-20506-CIV-SIMONTON

                                       CONSENT CASE

  EDEL LEON, et al.,

         Plaintiffs,

  v.

  M.I. QUALITY LAWN MAINTENANCE, INC., et al.,

         Defendants.
                                                      /

          ORDER GRANTING IN PART AND DENYING IN PART DEFENDANTS’
             MOTION FOR RELIEF FROM FINAL JUDGMENT, STAYING
    ENFORCEMENT OF EDEL LEON’S FINAL JUDGMENT, DENYING FEE AND CONTEMPT
           MOTIONS AND GRANTING MOTION FOR EVIDENTIARY HEARING

         This matter is before the Court on Defendants’ Motion to For Relief From Final

  Judgment and for Sanctions (DE # 328) and a request for an evidentiary on that motion

  (DE # 337). By this motion Defendants seek to set aside Edel Leon’s final judgment

  pursuant to Rule 60(b)(3). The Court has reviewed the motion, Plaintiff’s Response (DE #

  336) and the applicable law. For the reasons set forth below, the Court will grant in part

  and deny in part the motion. Specifically, the motion is only granted to the extent that

  the Court will stay the enforcement of Edel Leon’s Judgment (DE # 242), and will deny

  the contempt (DE # 301) and attorneys’ fees (DE # 250) motions until the Court conducts

  an evidentiary hearing and rules on Defendants’ motion to set aside.1

         Following a jury trial on Plaintiffs’ (Edel Leon and Javier Gonzalez) claims for




         1
         The undersigned notes that Defendants have not challenged the Judgment
  obtained by Javier Gonzalez. The motions related to collection of the judgments in this
  case, and the proposed Orders, however, combine the two judgments. Plaintiff Gonzalez
  may pursue relief with respect to his Judgment only, at this time.
Case 1:10-cv-20506-AMS Document 339 Entered on FLSD Docket 03/18/2014 Page 2 of 5



  retaliatory discharge pursuant to the Fair Labor Standards Act (“FLSA”), 29 U.S.C. §

  215(A)(3), the Court entered final judgment in favor of Leon for $70,800.00 and Gonzalez

  for $71,360.00 (DE # 242). Defendants now seek to set aside Leon’s judgment pursuant

  to Rule 60(b)(3) because Leon allegedly obtained that judgment by fraud and repeatedly

  perjured himself during his trial. (DE # 328, at 2-3). Defendants further allege that

  Leon’s wife, Kelly Phillips, also Leon’s main witness at trial, participated equally in the

  fraud and perjured herself to help her husband secure a judgment against Defendants.

  Defendants argue that Leon and Phillips committed perjury when they testified that Leon

  was unemployed for three months following his termination by Defendant. (Id. at 3).

  Relying on the affidavit of Lance Cooper, Defendants contend that directly contrary to

  Leon’s trial testimony, Leon commenced new employment almost immediately upon his

  termination by Defendants and received both overtime and health benefits at his new

  job. (Id. at 3). Defendants argue that this perjured testimony was critical to the

  judgment because the jury awarded Leon the exact amount in damages that Leon would

  have made from Defendants during the three months he was unemployed. (Id. at 17).2

  As relief, Defendants seek an Order staying the enforcement of Leon’s final judgment

  pending the resolution of the instant motion, sanctions against Leon and Phillips and

  ultimately an Order setting aside the final judgement. (Id. at 20).

         In response, Plaintiff argues that Cooper has fabricated evidence against Leon

  and call into question Cooper’s motives for coming forward. (DE # 336 at 4-5). Plaintiff

  depicts Cooper as a bitter bankrupt who holds a grudge against, and personal animosity




         2
           Together with the amount of money Leon would have earned through the time of
  trial with Defendants less the amount he earned working for Cooper.

                                                2
Case 1:10-cv-20506-AMS Document 339 Entered on FLSD Docket 03/18/2014 Page 3 of 5



  toward, both Leon and his attorneys. (Id. at 4-5). Plaintiff argues that, at best,

  Defendants advance only a factual attack on Leon’s judgment, which is not a proper

  basis to grant a Rule 60(b)(3) motion. (Id. at 9). Plaintiff also argues that fraud between

  parties and perjury does not constitute a “fraud on the court” requiring a court to set

  aside a judgment; rather, only the most egregious conduct, such as bribery of a judge or

  members of the jury constitutes “fraud on the court.” (Id. at 7-8, 10-12). Plaintiff also

  maintains that Defendants’ request for relief should be denied for their lack of diligence

  in pursuing the Cooper evidence since it could have been discovered before the trial of

  this matter. (Id. at 8).

         Although Plaintiff discusses three different standards for setting aside a judgment

  in his response brief, Defendants have only relied on Federal Rule of Civil Procedure

  60(b)(3) in moving for relief. Thus, Plaintiff’s arguments that the Cooper evidence is not

  “new evidence” under Rule 60(b)(2) or that Defendants failed to demonstrate that

  Plaintiff perpetrated a “fraud on the court” under Rule 60(d) are of no moment. Similarly,

  Plaintiff’s argument that Defendants have only advanced a factual attack, which is

  unworthy of relief under Rule 60(b)(3), misses the mark. It is true that Defendants have

  identified factual discrepancies between Leon/Phillips’ testimony and Cooper’s affidavit;

  and, it is also true that Rule 60(b)(3) is “aimed at judgments which were unfairly

  obtained, not at those which are factually incorrect.” The Defendants’ motion, however,

  is premised on more than a factual discrepancy; Defendants posit that Leon and Phillips

  fabricated the entire case and repeatedly perjured themselves to obtain a favorable

  judgment. Defendants assert, and this Court agrees, that the alleged misconduct and

  fraud described in the instant motion is exactly the type of deliberate behavior that falls

  within the purview of a Rule 60(b)(3) motion. The case law is clear that a Rule 60(3)(b)



                                                3
Case 1:10-cv-20506-AMS Document 339 Entered on FLSD Docket 03/18/2014 Page 4 of 5



  motion is proper where perjured evidence has been intentionally supplied. See, e.g.,

  Armstrong v. The Cadle Co., 239 F.R.D. 688, 691 (S.D. Fla. 2007) (“Misconduct may be

  established [under Rule 60(b)(3)] by proving that the opposing party willfully committed

  perjury.”).3 Therefore, the Court finds that an evidentiary hearing is necessary to resolve

  Defendants’ motion. Accordingly, it is

         ORDERED AND ADJUDGED that Defendants’ Motion For Relief From Final

  Judgment and for Sanctions (DE # 328) is GRANTED IN PART. The motion is

  GRANTED to the extent that enforcement of Edel Leon’s Final Judgment (DE # 242) is

  STAYED pending the resolution of this motion following an evidentiary hearing. It is

         FURTHER ORDERED AND ADJUDGED that Defendants’ Motion for Hearing

  (DE # 337) is GRANTED and the parties shall meet and confer and jointly contact the

  undersigned’s chambers to schedule an evidentiary hearing on Defendants’ motion. The

  evidentiary hearing will be held after the settlement conference to be conducted by

  Magistrate Judge John O’Sullivan. It is

         FURTHER ORDERED AND ADJUDGED that Plaintiffs’ Expedited Motion for

  Contempt and for Sanctions (DE # 301) and Verified Motion for Attorney Fees (DE # 250)

  are DENIED WITHOUT PREJUDICE pending a resolution of Defendants’ Motion for

  Relief from Judgment. Plaintiff Leon may file renewed motions, if appropriate, following




         3
          This case is distinguishable from the cases cited by Plaintiff which state that
  fraud between the parties, including perjury, cannot form the basis for relief. These
  cases concern motions which were not based on Rule 60(b)(3) since more than one year
  had elapsed from the date of entry of the judgment at issue. See S.E.C. v. ESM Group,
  Inc., 835 F.2d 270, 273 (11th Cir. 1988), for the distinction between relief sought based on
  “fraud” between the parties pursuant to Rule 60(b)(3) and “fraud on the court” brought
  under the savings clause of Rule 60.

                                               4
Case 1:10-cv-20506-AMS Document 339 Entered on FLSD Docket 03/18/2014 Page 5 of 5



  a ruling on Defendants’ motion.4 It is

         FURTHER ORDERED AND ADJUDGED that Plaintiffs’ Motion to Strike Expert

  Witness Disclosure (DE # 306) and Plaintiffs’ Motion to Strike Defendants’ Supplemental

  Memorandum of Law (DE # 305) are DENIED AS MOOT.

         DONE AND ORDERED in chambers in Miami, Florida, on March 18, 2014.




                                                   ANDREA M. SIMONTON
                                                   UNITED STATES MAGISTRATE JUDGE
  Copies furnished via CM/ECF to:
  All counsel of record




        4
           Plaintiff Gonzalez may file a renewed motion if he elects to proceed apart from
  Plaintiff Leon.

                                               5
